Case 4:18-cv-00483 Document 153-6 Filed on 10/13/20 in TXSD Page 1 of 4




                       EXHIBIT 06
1/9/2020          Rafael
                   CaseRamírez on Twitter: "My statement
                         4:18-cv-00483                   about the
                                                  Document         accusations
                                                                 153-6         levered
                                                                            Filed   onagainst me by Harvest
                                                                                        10/13/20     in TXSDNatural Resources.
                                                                                                                    Page 2 Inofthe4 coming days, w…

          Home            Moments                             Search Twitter                              Have an account? Log in
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                              Rafael Ramírez                                                            Follow            
                              @RRamirezVE


                  My statement about the accusations levered
                  against me by Harvest Natural Resources. In
                  the coming days, we will strongly legally
                  dispute the actual allegations as well as the
                  jurisdiction and procedure of the court.
                                             DECLARACIÓN DE RAFAEL RAMÍREZ EN TORNO A LAS A…
                                             Rechazo los alegatos introducidos en la demanda civil presentada
                                             por Harvest Natural Resources de Houston, Texas.
                                             medium.com


   Rafael Ramírez                                      © 2020 Twitter
                                                       About Help Center
   @RRamirezVE
           1:42 PM - 15 Feb 2019                       Terms Privacy policy
   Militante Revolucionario, Chavista                    Cookies Ads info

   y Bolivariano.
               19 ¡Lealtad!
                   RetweetsYouTube:
                             12 Likes
   bit.ly/2MQqDoq Suscríbete a mi

                   
   boletín: bit.ly/2V9HxT1
                        111            19             12

       Venezuela

       rafaelramirez.netRafael Cadavieco @rcadavieco · 16 Feb 2019
                                                                                                                            
       Joined May 2011Replying to @RRamirezVE
                              “My stedmen abaud acuseison.”
                              Vete al infierno Damidez. Y agradece que en EEUU no te van a volar la cabeza.
                              Serás la primera Dama de una Prisión Estatal.
                              Desecho humano.

                                  3              1               34

                              1 more reply


                              VVDY @VilmaVDY · 15 Feb 2019                                                                  
                              Replying to @RRamirezVE
                              De qué color quieres el uniforme?

                                                                 16


                              Luis Florez @fIorez1_0 · 15 Feb 2019                                                          
https://twitter.com/rramirezve/status/1096525153914273792                                                                                       1/1
1/9/2020             DECLARACIÓN
                   Case          DE RAFAEL Document
                        4:18-cv-00483      RAMÍREZ EN TORNO
                                                       153-6A LAS ACUSACIONES
                                                               Filed          PRESENTADAS
                                                                     on 10/13/20   in TXSDEN SU CONTRA
                                                                                              Page     POR
                                                                                                    3 of 4 HARVEST…




                   Rafael Ramírez Carreño Follow
                   Feb 15, 2019 · 1 min read



      DECLARACIÓN DE RAFAEL RAMÍREZ EN TORNO A LAS ACUSACIONES
      PRESENTADAS EN SU CONTRA POR HARVEST NATURAL RESOURCES DE
      HOUSTON EN UNA CORTE DE ESTADOS UNIDOS
      Rechazo los alegatos introducidos en la demanda civil presentada por Harvest Natural
      Resources de Houston, Texas.

      El tal juicio en mi contra se dictó sin hacerme notificación alguna de la demanda y sin
      oportunidad a la defensa de estas falsas acusaciones.

      La decisión del tribunal no nos ha dejado otra opción que preparar una defensa
      contundente contra estas acusaciones , así como contra la jurisdicción y procedimientos
      del tribunal.

      —————-

      STATEMENT BY RAFAEL RAMIREZ ABOUT THE ACCUSATIONS LEVERED AT
      HIM BY HARVEST NATURAL RESOURCES OF HOUSTON
      I reject and did none of the things alleged in the civil suit filed by Harvest Natural
      Resources of Houston, Texas.

      The so called judgment against me was entered without me ever being served with the
      law suit and never given a chance to defend myself against these false accusations.

      The court’s decision has left us no choice but to prepare a robust defense against the
      actual allegations as well as the jurisdiction and procedure of the court.



           Pdvsa     Harvest       Oil And Gas         Venezuela         Corruption



https://medium.com/@rafaelramirezc/declaración-de-rafael-ramírez-en-torno-a-las-acusaciones-presentadas-en-su-contra-por-harvest-c4fe45b3c125   1/2
1/9/2020           DECLARACIÓN
                 Case          DE RAFAEL Document
                      4:18-cv-00483      RAMÍREZ EN TORNO
                                                     153-6A LAS ACUSACIONES
                                                             Filed          PRESENTADAS
                                                                   on 10/13/20   in TXSDEN SU CONTRA
                                                                                            Page     POR
                                                                                                  4 of 4 HARVEST…
                                                                                                                  About       Help      Legal




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